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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                COVINGTON DIVISION

 In Re:                                          Case No. 14-21586-tnw

 Stephen G Rechtin
                                                 Chapter 13
 Linda A Rechtin

 Debtor(s).                                      Judge Tracey N. Wise

                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served by the method set forth below, upon the
below listed parties on August 6, 2019.

By Notice of Electronic Filing to:

          Thomas R. Kerr, Debtors’ Counsel
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By United States mail to:

          Stephen G Rechtin, Debtor
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                                                 Respectfully Submitted,

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